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                       UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

UNITED STATES OF AMERICA                      §
                                              §
vs.                                           §    Criminal No.: WA:20-M -00141(1)
                                              §
(1) CECILY ANN AGUILAR                        §
 Defendant



      ORDER SETTING PRELIMINARY / DETENTION HEARING
             IT IS HEREBY ORDERED that the above entitled and numbered case is set for
PRELIMINARY / DETENTION HEARING, in U.S. Magistrate Court, Courtroom No. 3, Second
Floor, 800 Franklin Avenue, Waco, Texas, on 07/14/2020 at 9:30 a.m.

            IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to counsel for defendant, the United States Attorney, United States Pretrial Services, United
States Marshal's Service and United States Probation Office WHO ARE ALL REQUIRED TO
BE PRESENT IN THE COURTROOM AT LEAST 15 MINUTES PRIOR TO THE
COMMENCEMENT OF THE COURT PROCEEDING SO THAT THE PROCEEDING
MAY BEGIN PROMPTLY AT THE TIME SET. Counsel for the defendant shall notify the
defendant of this setting and, if the defendant is on bond, advise the defendant to be present at
this proceeding.

            IT IS FINALLY ORDERED that in the event the services of a court interpreter are
required, counsel for the defendant shall notify the U.S. District Clerk's Office within five (5)
days of the date of the hearing.

              IT IS SO ORDERED this 6th day of July, 2020.




                                                  ______________________________
                                                  JEFFREY C. MANSKE
                                                  UNITED STATES MAGISTRATE JUDGE
